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                                UNITED STATES DISTRICT COURT FOR THE
                                    SOUTHERN DISTRICT OF FLORIDA
                                                  M iam iDivision

                                      Cqse N um ber:21-23190-CIV -M O R EN O

  CARLOS VDUARDO V ARRON ,JAXE D OE,
  C.R.,am inor,and S.A .,am inor,
                        Plaintiffs,


  xlcol-AsMAouRo MoRossFusltzks
  ARMADASRsvol-ucloxAklosDE
  col-oM slA .CA RTEL op'TH E sux ss
  VLAOIMIR ixAoltrxo LopEz,MAII& L
  JosE M ou x o pvlksa xssrroR Luls
  RsvERol-TolutsssTXREK wILLIAM
  gAAp,àndTARECItELAIssAMI,
                        Defepdants.


  ORDER GRANTIN G PLM NTIPFS'M OTION FOR ALTERNATIVE SERW CE UNDER
                                                  RULE 4(943)       .

                  TIIIS CAUjE camç beforetheCouktupon Plaintiffs'Motion forAltemativeServiceof
  Process(biE.32),filedon September2.2022.
          -




                  THE COURT has considered the motiofl,the pettinentportitms otthe retnrd,and being
  otherw ise fully advised in the prem ises,itis
                  x




                  ADJUDGED thatthem utibp isGRANTED.


                  D ONE AND ORDERED in Chambers at M iam i,Florida,this           ' of September
  2022.

                                                      FEDERI              NO
      .
              '                                                STATESDISTRICT AJDGE
  Copiesfumishedio:
  CounselofRecord
